Case 1:06-cv-00372-RLY-TAB             Document 38       Filed 08/16/07     Page 1 of 1 PageID #:
                                              435



                             IN THE UNITED STATES DISTRICT COURT
                            FOR THE SOUTHERN DISTRICT OF INDIANA
                                     INDIANAPOLIS DIVISION

PETER PISEK,                                    )
                                                )
                   Plaintiff,                   )
                                                )
        v.                                      )      CAUSE NO. 1:06-cv-0372-RLY-TAB
                                                )
KINDRED HEALTHCARE, INC.                        )
DISABILITY INSURANCE PLAN,                      )
METROPOLITAN LIFE INSURANCE                     )
COMPANY, and KINDRED                            )
HEALTHCARE, INC.,                               )
                                                )
                   Defendants.                  )


                                      ENTRY OF JUDGMENT

                   By Entry dated July 17, 2007 (Docket No. 31), the Court granted in part and

denied in part both the Plaintiff's motion for summary judgment (Docket No. 25) and the

Defendants' motion for summary judgment (Docket No. 28). The Plaintiff is entitled to penalties

from Kindred Healthcare, Inc. in the amount of $9800 but is not entitled to penalties from

Metropolitan Life Insurance Company. The Plaintiff is also entitled to a cost-of-living increase

in his monthly benefit from the Kindred Healthcare, Inc. Disability Insurance Plan, retroactive

from July 2005. No party is awarded attorneys' fees or costs. A final judgment is ordered

accordingly.
                               16th
                   DATED this _________ day of August, 2007.

                                                ______________________________________
                                                THE HONORABLE JUDGE RICHARD L.
                                                  _______________________________
                                                YOUNG,    U. S. DISTRICT COURT, SOUTHERN
                                                DISTRICT
                                                  RICHARD  OFL.INDIANA,
                                                                YOUNG, JUDGEINDIANAPOLIS
                                                DIVISION
                                                  United States District Court
                                                  Southern District of Indiana




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